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                              EXHIBIT 5
          Aug. 15, 2024 Fairfax County Electoral Board Minutes
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                                             MINUTES
                                   Fairfax County Electoral Board
                                          August 15, 2024

            The Fairfax County Electoral Board (Board) met on Thursday, August 15, 2024, in
    Conference Room 315 at the Fairfax County Government Center located at 12000
    Government Center Parkway, Fairfax. Chairman Hon. Katherine K. Hanley; Vice Chairman
    Jeffrey K. Shapiro; Secretary Amb. (ret.) Christopher P. Henzel; General Registrar Eric L.
    Spicer; Deputy Director Cheryl Jones; and Clerk to the Electoral Board Beth Dixon
    Methfessel were present.

             Election Manager Ravi Udeshi; Deputy Registrar for Voter Registration Bushra
    Ardalan; Deputy Registrar for Absentee Voting Sean Stewart; Voting Equipment and
    Logistics Manager Tyrone Allen; Training and Operations Manager Sean Rogers; Election
    Officer Manager Gretchen Coleman; Supply Manager Kay Garrison; IT Business Analyst
    George Panagakos; Bill Turley ((Office of Elections (Office) staff); Christine Brim (Fairfax
    County Republican Committee (FCRC) Election Integrity Task Force); Patricia O’Brien and
    Barbara Palmer-Tengs (members FCRC); Judith Helein and Maggi Luca (League of Women
    Voters (LWV) – Fairfax); and Laurel May (Fairfax County election officer and/or resident of
    Fairfax County).

           The following individuals participated using the Zoom videoconferencing platform:
    Human Resources Manager Yoon Choi-Lee; Deputy Registrar for Voter Satellite Offices
    Florence Brown; Financial Specialist Teresa Maza; Office staff and/or rovers Nazila Arefi,
    Steve Barch, Judy Clardy, Ann Hines, Lisa Hogle, B. Gissell Jimenez, Gary Klinger, Abigale
    Peters, Todd Strelow, Jerald Taylor, Jean Thoensen, and Fily Vilasanta; Maria Vorel (FCDC
    Precinct Operations); Megan Challender (FCDC Election Law and Voter Protection); Arina
    van Breda (Director, Voter Registration and Voter Information LWV - Fairfax); and Mark
    Beale, Phyllisa Goldenberg, and Claudia Stallings (Fairfax County election officers and/or
    residents of Fairfax County or neighboring jurisdictions).

           Ms. Hanley called the meeting to order at 4:00 p.m. and introduced the Board. Mr.
    Shapiro moved approval of the agenda, and the motion passed by a vote of 3-0.

           Mr. Henzel moved to adopt the Draft Minutes of the Board meetings held on June 10,
    2024, and June 19, 2024. By a vote of 3-0, the Minutes of the Board meetings held on June
    10, 2024, and June 19, 2024, were adopted.

            Mr. Shapiro made a motion to appoint 377 election officers (EO) (150 Democrats, 96
    Republicans, and 131 Unaffiliated) for a term ending February 28, 2025. The motion passed
    by a vote of 3-0.

            Under the General Registrar’s (GR) report dated August 13, 2024 (attached and made
    a part of this record), Ms. Jones presented the General Registrar’s report and updated the voter
    registration numbers since the last Electoral Board meeting:
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    Voter Registration



     Registered Voters                             As of 6/1             As of 7/31       Change
                                                                                          from 5/31
     Active Registered Voters                       736,461                 723,604        -12,857
     Inactive Registered Voters                         64,426               81,087       +16,661
     Total                                          800,887                 804,691        +3,804


     Active Voter Registration Subtractions                 6/1 – 7/31            Year-to-Date 2024
     (Cancellations and Transfers Out)                                              (1/1 to 7/31)
     Deceased (multiple sources)1                                1,086                  3,111
     Out-of-State (multiple sources)2                            2,613                  4,029
     Declared Non-Citizen (from ELECT)                            46                    182
     Declared Mentally Incapacitated (from Court)                 12                     35
     Felony Conviction (from ELECT)                               9                     104
     Voter Request (paper form from voter)                        81                    223
     Transfer Out to Another Jurisdiction in VA                  3,738                  10,835
     Other Subtractions (administrative error, other)                  12                37
     Total Cancellations and Transfers                           7,597                  18,556


                                                                 6/1 – 7/31       Year-to-Date 2024
     Active Voter Registration Additions                                            (1/1 to 7/31)
     New Voter Registrations (multiple sources)                    7,663                23,740
     Transfer In from Another Jurisdiction in VA                    3,695               9,535
     Other Additions (reactivated, reinstated, other)               1,680               3,780
     Total                                                        13,038                37,055

     Voter Registration Transactions3                                             Year-to-Date 2024
     (includes transactions that result in additions,            6/1 – 7/31          (1/1 to 7/31)
     subtractions, and no change)
     Online DMV (from ELECT)                                      43,213               123,159
     Online Citizen Portal (from ELECT)                            8,852                17,981
     Online Third-Party DMV Verified (from ELECT)                     660               1,297
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        Va. Paper Form Third Party (delivered to the                437
                                                                                        3,439
        office)
        Va. Paper Form In-Person (office walk-ins, new              339                 1,092
        citizen ceremonies, at polling locations)
        Va. Paper Form by Mail (delivered to the office)            604                 1,965
        Federal Post Card Application (multiple sources)           1,007                1,725
        National (EAC) Paper Form (delivered to the                 174
                                                                                         436
        office)
        Same Day Registration (office or voting locations)          229                 1,301

    1
      Deceased (multiple sources) includes: Bureau of Vital Statistics through ELECT, Report of Death
    information provided by relative, Death Certificate provided, and General Registrar Report of Death
    created based on an obituary
    2
      Out-of-State (multiple sources) includes: DMV, State mail, NCOA, and other voter registration
    update forms
    3
      All categories include: new voter registrations, change of address, change of name, voter
    cancellations (including out-of-state), and duplicates (no change of data)

            Ms. Ardalan confirmed for Ms. Hanley that the same day registrations from the June
    primary elections are included in the current voter registration numbers. Ms. Ardalan
    indicated that 174 applications were submitted from federal agencies and 604 from state
    agencies in response to Mr. Henzel’s query as to the number of voter registration applications
    received outside of DMV. Mr. Henzel expressed concern over the ease of acquiring an FCPA
    and suggested that any spikes in the number of these registrations should be monitored. Mr.
    Shapiro agreed and commented that the breakdown of the sources of voter registrations is
    more useful and user-friendly.

            The Department of Elections (ELECT) sent a National Confirmation of Address
    (NCOA) mailing to 23,281 Fairfax County voters on June 10, 2024. As of August 12, the Office
    received a total of 6,501 pieces of mail from the confirmation mailing, including 3,293 pieces
    returned undeliverable and 3,208 responses from voters that required action. A total of 16,231
    voters were changed to an “Inactive” status because their confirmation mailing was returned
    undeliverable, or they did not respond within 30 days. The NCOA mailing not only affects
    registration, but also the permanent absentee list. Voters on the permanent absentee (PAB) list
    who did not respond within the 30-day requirement were removed. Based on this legal
    requirement, staff manually cancelled 912 permanent absentee applications. If a forwarding
    address was available, staff sent an additional address confirmation request to the voter.

           As of August 12, 68,137 absentee ballot applications have been approved for the
    November 2024 General and Special Elections (November General Election). This includes
    59,482 permanent applications, 3,144 applications from overseas and military voters, and 5,511
    one-time applications. Ms. Jones confirmed for Mr. Shapiro that voters either request to be on
    the permanent absentee ballot list when they register to vote or they have responded to one of
    the two mailings sent by the Office confirming their continued inclusion on the list. If a voter
    moves out of Fairfax County, their permanent absentee status is removed.

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            Ms. Hanley observed that many Inactive voters will cast a ballot in November because
    they only come to the polls for the presidential election. Mr. Udeshi explained that Inactive
    voters are required to sign an Affirmation of Eligibility declaring that they still reside at the
    address shown in the pollbook. They will be added to the pollbook by the EO and permitted to
    vote.

             Mr. Shapiro asked for clarification on the statement (pg. 4, para 4) “…ELECT reminded
    all general registrars that individuals on the list of registered voters may not be challenged
    because they moved out of a jurisdiction or out of the state.” Mr. Henzel explained that ELECT
    follows a legal process for cancelling the registration of voters who move out of the jurisdiction
    or out of the state and it does not include the option for registered voters to challenge their
    eligibility based on relocation.

       The following precinct and polling places changes were approved by the Board of
    Supervisors on June 25, 2024:
       • The name of Woodson #1 and Woodson #2 precinct’s polling place changed from W.
           T. Woodson High School to Carter G. Woodson High School.
       • The name of Huntley precinct’s polling place changed from St. John Mark’s Episcopal
           Church to St. Martin de Porres Episcopal Church.
       • The name of Island Pond precinct’s polling place changed from Oak Marr Recreation
           Center to Oakmont Recreation Center.
       • Relocation of the polling place for Greenspring precinct from Village Square to the
           Conference Center.*
       • Consolidation of the Hummer and Woodburn precincts.*
       • Removal of the Gerry Hyland Governmental Center as a voter satellite office.*
    *The Request for Certification of No Objection for the relocation of the Greenspring polling
    place, the consolidation of the Hummer and Woodburn precincts, and the removal of the Gerry
    Hyland Governmental Center as a voter satellite office was submitted to the Attorney General
    on July 12. Approval is expected by late August.

            Ms. Hanley corrected the name of the church for Huntley precinct from St. John’s to St.
    Mark’s Episcopal Church. She also explained that the public hearing scheduled for July 30,
    2024, to correct the address of the polling place for Clifton Town precinct, and to change the
    name of the Providence Community Center to the Jim Scott Community Center, was cancelled
    due to an advertising error. This public hearing will be held in December.

           The satellite hours of operation for the November General Election remain consistent
    with past elections:

    Fairfax County Government Center
    Monday – Friday                               8 a.m. to 4:30 p.m.
    Saturdays (9/21, 10/19, 10/26, 11/2)          9 a.m. to 5 p.m.
    Sunday (10/27)                                1 p.m. to 5 p.m.

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    Mount Vernon and North County Governmental Centers
    Monday – Friday                      1 p.m. to 7 p.m.
    Saturdays (9/21, 10/19, 10/26, 11/2) 9 a.m. to 5 p.m.
    Sunday (10/27)                       1 p.m. to 5 p.m.

    13 additional locations
    Monday – Friday                               1 p.m. to 7 p.m.
    Saturdays (10/19, 10/26, 11/2)                9 a.m. to 5 p.m.
    Sunday (10/27)                                1 p.m. to 5 p.m.

            Under the Resource Allocation for the November General Election, each precinct will
    receive ballots for at least 80% of active voters. Ballots for 85% to 100% of active voters for
    the precincts that had the highest in-person turnout in past presidential elections will be ordered
    as well as ballots for 85% of active voters for new precincts created because of redistricting.
    Each precinct will receive three to six Poll Pads, two ExpressVote ballot marking devices, and
    two DS200 ballot scanners. Each precinct will be assigned 9 to 17 election officers, including
    two Provisional Specialist officers. They will help the Chief and Assistant Chief by performing
    administrative duties related to provisional and SDR voters, including verifying each
    provisional envelope is completed completely and accurately and properly logged.

             Ms. Hanley expressed concern about the accuracy of the current resource allocation.
    She explained that the last two presidential elections were held in different circumstances. In
    2020, voters were fearful of coming to the polls because of the pandemic. In 2016, the rules for
    early voting did not include no-excuse absentee. Redistricting required significant changes to
    precinct lines so the number of voters per precinct now may not be consistent for predicting the
    number of voters in the precincts. She noted that in the past when a precinct ran low in ballots,
    the ballot could be replenished from another precinct if the style was identical. Now results
    must be reported by precinct, therefore, each precinct has its own distinct style, and the ballots
    cannot be “shared.” Same-day registration is now available so people not counted in today's
    registration numbers may come to the precinct to register and vote and will need a ballot. This
    is likely in precincts with substantial change in residential units, for example areas along the
    Dulles Corridor and in Tysons, or precincts with new retirement communities, like Woodleigh
    Chase in Braddock District. She also expressed concern that the University precinct may run
    low on ballots. George Mason is now the largest university in Virginia, and it will be hard to
    predict how many students might register and vote on Election Day.

            Ms. Hanley moved that staff 1) follow spikes in voter registration including same day
    registration during early voting at any precinct to ascertain if a ballot order adjustment is
    warranted; and 2) prepare procedures, including security measures, to send the ballot on demand
    equipment to any precinct on Election Day that may require additional ballots. If any dramatic
    change in voter registration numbers occurs by October 15, adjustments to the resource
    allocation should be made. After discussion, the motion passed by vote of 3-0.

           The following is the Logic and Accuracy testing schedule for the November General
    Election:
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    Tuesday, September 10 (9:00 a.m.) to September 11 (Fairfax Government Center, 12000
    Government Center Parkway, Fairfax, VA) – Testing and setup of Poll Pads for early voting
    satellite sites.
    Thursday, September 12 (9:00 a.m.) to September 16 (Morrissette Warehouse, 8600
    Morrissette Drive, Springfield, VA) – Testing of voting equipment and Ballot on Demand
    systems for three 45-day early voting satellite sites.
    Tuesday, September 24 (9:00 a.m.) to October 11 (Morrissette Warehouse, 8600 Morrissette
    Drive, Springfield, VA) – Testing of voting equipment and Ballot on Demand systems for the
    remaining 13 early voting satellite sites and all Election Day polling places.
    Wednesday, October 9 (9:00 a.m.) to October 10 (Fairfax Government Center, 12000
    Government Center Parkway, Fairfax, VA, Suite 339) – Testing of voting equipment that will
    be used to count mail ballots.

    Sunday, November 3 (9:00 a.m.) (Fairfax Government Center, 12000 Government Center
    Parkway, Fairfax, VA, Suite 251) – Testing and setup of all Poll Pads for Election Day.

            Approximately 3,700 election officers will be assigned to serve in the precincts for the
    November General Election. Mr. Henzel asked Mr. Udeshi for his estimation on assignment
    parity between the two parties. Mr. Udeshi replied that in 2020 the percentage of assigned EOs
    from the Democratic Party was 55% and the Republican Party 25%. He hopes to improve upon
    these percentages for this election due to improved availability of EOs from both parties.

            Sarah Prowitt resigned as Communications Division Chief effective August 2 to take a
    position with the federal government in Health and Human Services. Teresa Maza is resigning
    from her position as Financial Specialist II effective August 23 to accept a promotional
    opportunity with the county’s HR Department. After 13 years, Patricia Ferguson will retire on
    September 6 from her position as VFOIA Manager. The Board thanked these talented
    individuals for their dedicated service.

            Outreach efforts will include the palm card which advertises important deadlines, as well
    as satellite voting locations, dates, and times. This resource will be provided at the public
    libraries, Board of Supervisors’ offices, League of Women Voters, etc. The sample ballot mailer
    is in production with an anticipated distribution date prior to the September 20 start of early
    voting. This mailing will go out Return Receipt Requested. Any returned mailers with a
    forwarding address will receive the Office’s follow-up address confirmation letter to allow for
    more prompt action if the voter responds that they no longer reside in Fairfax County.

           There were no Electoral Board reports.

           Under New Business, Ms. Hanley reported that there is a new legal requirement requiring
    Electoral Boards to certify that the polling places in their localities meet ADA requirements. In
    Fairfax County, the rovers completed an accessibility survey for each polling place at either the
    March Presidential Primary or the June Primaries. Follow-up inspections were conducted for
    any location not receiving a 100% satisfactory response.
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    Mr. Henzel made the following motion:

           “I move to approve ELECT’s ADA Compliance Confirmation that states all
           polling places in Fairfax County have been assessed for accessibility using an
           Americans with Disabilities Act (ADA) checklist provided either by the
           Virginia Department of Elections (ELECT) or by the U.S. Department of
           Justice (DOJ). The ADA checklist for each polling place has been filed and will
           be maintained within the records of the local electoral board in accordance with
           the Virginia Freedom of Information Act (§2.2-3700 et. seq.). Pursuant to
           §24.2-310(C), all polling places in Fairfax County are currently compliant with
           the requirements of the ADA (§42 USC 12132), the Voting Accessibility for the
           Elderly and Handicapped Act (§52 USC 20102), and the Virginians with
           Disabilities Act (§51.5-1 et seq.).

           The motion passed by a vote of 3-0.

            Under New Business, Claims of Non-Citizens Voting, Mr. Henzel said that he had
    learned that the FCRC Election Integrity Task Force, using publicly available information,
    had compiled a list of 66 registered voters who had voted, and later were identified by ELECT
    as likely non-citizens through routine list maintenance. He noted that ELECT says it identifies
    such voters based on information it receives from sources that include DMV and the federal
    SAVE (Systematic Alien Verification for Entitlements) program. Local election offices
    receive instructions from ELECT to send a form to the last known address of these voters to
    give them an opportunity to affirm their citizenship. If no response is received within 14 days,
    the voter is removed from the rolls. Mr. Henzel asked staff if this information is accurate, and
    staff confirmed that all these individuals had voting records. Mr. Henzel commented that his
    understanding was that many of these individuals are citizens who inadvertently checked the
    wrong box or did not check any box for the citizenship question on the DMV website.
    Although the local election offices have “no way of knowing” how the individual answered
    the DMV citizenship question, he believes ELECT might have more information. He stated
    that he is uncomfortable assuming that it is “all innocent” and was concerned that it is not
    clear who has responsibility for investigating to determine whether someone had broken the
    law. In the light of the Governor’s Executive Order (attached and made a part of this record),
    he urged the General Registrar to send a communication to the Attorney General of the
    Commonwealth noting that these cases were flagged and encouraging the Attorney General
    to use its authority and investigative resources to review them.

            Mr. Spicer responded that of the 66 individuals, 17 confirmed their citizenship and re-
    registered within the 14-day requirement. The remaining 49, however, did not and were
    removed from the rolls. After consulting with the County Attorney’s Office, Mr. Spicer stated
    he has a duty to refer non-citizens who have voted and proposed referring the names of these
    49 individuals who appear to be non-citizens who voted to the Commonwealth’s Attorney,
    the Attorney General of Virginia, and to ELECT. To further ensure the integrity of the voter
    rolls, he proposed developing procedures that would refer Fairfax County’s list on apparent
    non-citizens who had voted to these three offices monthly. Mr. Shapiro agreed and
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    commented that when staff receives information that suggests a non-citizen has voted, “we
    have an obligation to do something other than just take them off the list.” He added that the
    procedures developed should treat everyone equally who meets the criteria for inclusion on
    the ‘apparent non-citizen voter’ list. Ms. Hanley remarked that “the law does seem clear that
    the registrar should refer these 49 to the Commonwealth’s Attorney.”

            Mr. Shapiro moved that the General Registrar draft a policy for referral of potentially
    false claims of citizenship where people have voted, to be presented at the next board meeting.
    The motion passed by a vote of 3-0.

           Mr. Shapiro moved that in conjunction with ELECT, the General Registrar review the
    Governor’s Executive Order 35 (2024) to draft a plan that includes developing a notice
    regarding election-related offenses and determining where it can legally be distributed. Mr.
    Spicer was also to consult with ELECT to learn whether they are developing a uniform
    approach for all counties, in which case it would not be necessary for Fairfax County to
    develop its own notice. This draft will be reviewed at the next Board meeting. The motion
    passed by a vote of 3-0.

            Under Public Comments, Ms. Hanley reminded the public that comments are limited
    to three minutes. The Board may provide the information; however, if more research is
    required, the Board may defer an answer. The Board may also request a written submission
    of the comment or inquiry.

            Ms. Brim requested that in the Voter Registration section of the General Registrar’s
    Report, separate categories be created for the NVRA data accounting of the number of voter
    registrations by discretionary state-designated agencies and third-party voter registration
    drives. Ms. Brim also requested that going forward, the General Registrar report, based on
    research, include the number of self-declared non-citizens who have voted. The Board will
    consider this request after the reviewing the draft policies presented at the next meeting.

            Mr. Brandon commented on the higher state-wide rejection rate of returned absentee
    ballots due to failure to provide the last four digits of the social security number or the year
    of birth. He hopes there will be more education on how to properly complete an absentee
    ballot to reduce the number of rejections. Ms. Jones replied that each absentee ballot is sent
    with a comprehensive set of instructions that includes a screen shot of a properly completed
    envelope. There is also a cure process for voters to submit any missing information. Mr.
    Shapiro commented that the Office has an incentive to educate voters because it creates more
    work on the backend to follow-up on returned absentee ballots with missing information. Ms.
    Jones added that a video on how to properly complete an absentee ballot will be available on
    the Office’s website and on Fairfax Votes.

            Mr. Brandon mentioned the challenges affecting mail delivery at the Richmond Post
    Office. Mr. Stewart explained that the postmaster in Fairfax goes above and beyond to ensure
    that election mail coming through Merrifield is handled efficiently. The Fairfax post office
    also makes additional trips to the Government Center to ensure the timely delivery of election
    mail. Additionally, as the November General Election approaches, Office staff will make trips
    to the post office to pick up election mail.
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              Mr. Brandon asked about the ease of voting for returning military personnel. Ms.
     Jones explained that if they received an absentee ballot, they will be marked as an absentee
     voter. If they return the ballot, they can vote routinely. If not, they can vote provisionally. Ms.
     Hanley confirmed for Mr. Brandon that although Veteran’s Day falls on Monday, the time for
     certifying the election has been extended three days and is now the second Friday after the
     election.

            Mr. Henzel moved to adjourn. The motion carried, and without objection, the meeting
     was adjourned at 5:37 p.m.


     Attachments


                                                    _________________________________
                                                     Hon. Katherine K. Hanley, Chairman


                                                    __________________________________
                                                    Jeffrey K. Shapiro, Vice Chairman


                                                    __________________________________
                                                    Amb. (ret.) Christopher P. Henzel, Secretary




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